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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


IN RE:

CASES ASSIGNED TO JUDGE
MICHAEL L. BROWN


     STANDING ORDER REGARDING CIVIL LITIGATION

      This case has been assigned to Judge Michael Lawrence Brown.
Judge Brown provides this Standing Order to inform the parties about
his policies, procedures, and practices in order to promote the just,
speedy, and economical disposition of cases. This order, in combination
with the Local Rules of this Court and the Federal Rules of Civil
Procedure, shall govern this case, superseding any previous case
instruction orders.

CASE ADMINISTRATION

a.   Contacting Chambers

     Benjamin Thurman, the Courtroom Deputy Clerk, is your principal
point of contact on matters related to this case. Communications with
Mr. Thurman should be via email or in writing addressed as follows:

     Honorable Michael L. Brown
     ATTN: Benjamin Thurman
     Courtroom Deputy Clerk
     1942 United States Courthouse
     75 Ted Turner Drive, SW
     Atlanta, GA 30303-3309
     Benjamin_Thurman@gand.uscourts.gov
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     If a telephone call is necessary, you may reach Mr. Thurman at 404-
215-1535 (direct dial). Please note that Mr. Thurman is often in the
courtroom, so telephone messages may not be returned for 24 hours.
Neither the parties nor their counsel should discuss the merits of the case
with Mr. Thurman or any of the Court’s law clerks.

b.   Courtesy Copies

      The parties shall submit courtesy copies by hand-delivery to
chambers of (1) any emergency motions filed pursuant to Local Rule 7.2B
or (2) motions for temporary restraining orders. Otherwise, courtesy
copies are unnecessary and should not be submitted to the Court unless
specifically requested.

c.   Attorneys

      In the event lead counsel has been admitted pro hac vice, local
counsel is required to be familiar with the case, and may be called upon
to attend hearings or participate in conferences on behalf of lead counsel.

d.   Leaves of Absence

      Counsel are encouraged to review their calendars and submit as
early as possible any requests for leave of absence. Leave requests shall
comply with Local Rule 83.1. All requests for or notices of leaves of
absence must be electronically filed. Counsel should not email, mail, or
hand-deliver paper copies of absences to chambers.

CASE MANAGEMENT

e.   Jurisdiction Based on Diversity of Citizenship

       For a limited liability company (“LLC”), or other unincorporated
entity, the plaintiff or removing defendant must list each member of the
LLC or unincorporated entity and provide specific factual allegations to
support the citizenship of each member of the LLC or unincorporated
entity. See Carden v. Arkoma Assocs., 494 U.S. 185, 195–96 (1990)
(citizenship of an unincorporated entity generally depends on the


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citizenship of all the members composing the organization; limited
partnership is a citizen of each state in which any of its partners, limited
or general, are citizens); Rolling Greens MHP, L.P. v. Comcast SCH
Holdings, L.L.C., 374 F.3d 1020, 1022 (11th Cir. 2004) (“[t]o sufficiently
allege the citizenships of these unincorporated business entities, a party
must list the citizenships of all the members of the limited liability
company”); RES-GA Creekside Manor, LLC v. Star Home Builders, Inc.,
No. 2:10-cv-207, 2011 WL 6019904, at *3 (N.D. Ga. Dec. 2, 2011) (“when
an entity is composed of multiple layers of constituent entities, the
citizenship determination requires an exploration of the citizenship of the
constituent entities as far down as necessary to unravel fully the
citizenship of the entity before the court”).

f.   Extensions of Time

      The Court will set reasonable but firm deadlines. Motions for
extensions, whether joint, unopposed, or designated as consent, will not
be granted as a matter of course. Parties seeking an extension should
explain with specificity the unanticipated or unforeseen circumstances
necessitating the extension and should set forth a timetable for the
completion of the tasks for which the extension is sought. Parties should
indicate whether opposing counsel consents to the extension. A proposed
order must be provided.

g.   Page Limit Extensions

      The Court generally will not approve extensions of page limitations.
Parties seeking an extension of the page limit must do so at least five (5)
days in advance of their filing deadline and should explain with
specificity the reasons necessitating the extension. If a party files a
motion to extend the page limit at the same time his or her brief is due,
the extension request will be denied absent a compelling and
unanticipated reason for violating this rule. The Court will not consider
any arguments made in pages that exceed the Local Rules’ requirements.




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h.   Conferences

     Scheduling, discovery, pretrial, and settlement conferences
promote the speedy, just, and efficient resolution of cases. The Court
encourages the parties to request a conference with the Court when
necessary or helpful.

i.   Joint Preliminary Report and Discovery Plan

      Local Rule 16.1 requires lead counsel for the parties to confer with
each other prior to filing the joint preliminary report and discovery plan.
This conference may be conducted by telephone.

      For every deadline addressed in the joint preliminary report and
discovery plan, the parties must provide specific dates, rather than
simply a number of days or months. The Court recognizes this may not
be possible when a defendant files a motion to dismiss or other motion
that delays the start of the discovery process. In such an event, the
parties must state the number of months that discovery is expected to
take and other deadlines that follow from that period. Within fourteen
(14) days after a ruling on any motion to dismiss or other motion that
delays the start of discovery, the parties must file an amended joint
preliminary report and discovery plan to identify exact days for each
of the required deadlines.

      After reviewing the joint preliminary report and discovery plan, the
Court may schedule a Rule 16 conference. The Court may also do so at
the request of counsel.

j.   Initial Disclosures

     Initial disclosures should be as complete as possible based upon
information reasonably available. Responses may not be reserved to be
provided at a later time.




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k.   Written Discovery

      Responses to written discovery must be in writing and prepared in
accordance with the applicable Federal Rules of Civil Procedure and
Local Rules of this Court. Federal Rules of Civil Procedure 33(b)(4) and
34(b)(2)(B) prohibit boilerplate and general objections. Specific objections
must be made to each discovery request. If an objection is made to certain
specific parts of a written discovery request, responses and documents
must be provided in response to those portions to which an objection was
not asserted.

     Evidence introduced at trial that was requested but not disclosed
during the discovery period will not be admitted.

l.   Discovery Disputes

      The Court will work to reduce delay and inefficiency arising from
discovery disputes. The parties, therefore, must submit discovery
disputes to the Court before formal motions to compel or motions for a
protective order are filed. In the event a discovery dispute arises, the
parties are required to meet and confer in an effort to resolve the dispute.
Counsel or pro se litigants are required to confer — by telephone or in
person — in good faith before bringing a discovery dispute to the Court.
See Fed. R. Civ. P. 26(c) and 37(a)(1); LR 37.1A, NDGa. The duty to
confer is not satisfied by sending a written document, such as a letter,
email, or fax, to the adversary, unless repeated attempts to confer by
telephone or in person are unsuccessful due to the conduct of the
adversary.

      If the dispute cannot be resolved, the parties shall electronically file
on the docket a Joint Statement Regarding Discovery Dispute, using the
“Notice of Filing” event, outlining their positions on each of the discovery
items in dispute. The statement shall not exceed three (3) pages, single-
spaced, in a font accepted by the Local Rules. The parties are required
to attach as an exhibit to the statement an excerpt of the relevant
discovery requests including only the language of the specific requests
and, potentially, the disputed responses that are the subject of the
dispute. The parties should not attach an entire copy of their


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interrogatories, requests for production of documents, or requests for
admission.

     After reviewing the dispute, the Court will determine whether the
dispute can be resolved on the papers or whether a conference is
necessary and will notify the parties accordingly.       All discovery
conferences will be recorded by a court reporter.

     If any party has a dispute with a non-party (e.g., regarding a
subpoena), the party and the non-party must follow these instructions,
and the party must promptly inform the non-party of this discovery-
dispute policy.

      Motions to compel, to quash a subpoena, for a protective order, or
for sanctions ordinarily may NOT be filed without a prior conference with
the Court.

      If a bona fide dispute arises during a deposition that the parties
cannot resolve despite a good-faith effort to do so, counsel should not
hesitate to call the Court. The Court is usually available by telephone to
resolve objections and disputes that arise during depositions.

m.   Confidentiality Agreements, Consent Protective Orders,
     and Motions to Seal

      If the parties find that a confidentiality agreement is necessary, the
following language shall be included in any consent confidentiality order
submitted for the Court’s consideration:

     Any document, material, or other information designated as
     entitled to protection under this order, which is submitted to
     the Court in support of a pleading, or introduced at a hearing,
     trial, or other proceeding in this action, may continue as
     protected material only by order of the Court in accordance
     with these procedures. If information entitled to protection
     under this order is submitted to the Court in support of a
     pleading, such information shall maintain its privileged
     status for ten (10) days. During this ten-day period, the party


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     who designated the information as protected may move the
     Court to continue the protected status of the information by
     filing a motion for continued protection. The moving party
     shall indicate whether the motion is opposed. If the motion is
     opposed, the opposing party shall have five (5) days from the
     date that the original motion is filed to file a response.

     A party who seeks to introduce protected information at a
     hearing, trial, or other proceeding shall advise the Court at
     the time of introduction that the information sought to be
     introduced is protected. If the party who designated the
     information as protected requests the protection be continued,
     the Court will conduct an in camera review of the information
     to determine if the information is entitled to continued
     protection.

      Please note: It is not the Court’s practice to allow entire pleadings
to be sealed from public view, but only to allow the redaction of specific
portions of a pleading if a proper foundation is laid that protection of
confidential or proprietary information is required. Counsel should use
discretion in requesting protection for a document, material, or
information within documents or pleadings and only seek protection
where factually necessary and legally permitted (e.g., bank account
numbers, scientific formulas, confidential pricing calculations).

n.   Close of Discovery

      All discovery must be initiated to ensure that answers and
responses to the discovery are due before the close of discovery. The
Court will not enforce side agreements to conduct discovery beyond the
end of the discovery period, and the Court will not compel responses to
discovery that were not initiated in time for responses to be made before
discovery ends.

     Motions requesting extensions of time must be made prior to
expiration of the existing discovery period and will be granted only in
those cases where the attorneys could not have anticipated that certain
circumstances would arise that would require an extension.


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     The Court will not permit the taking of depositions for the
preservation of testimony after the close of discovery, absent a good faith
reason to do so. A party must request the Court’s permission to conduct
a preservative deposition.

o.   Expert Witnesses

      The requirements of Local Rule 26.2C must be met. Failure to
identify an expert and serve an expert report as required by Local Rule
26.2C may result in the expert being precluded from offering testimony
in this case.

p.   Motions for Temporary Restraining Order or Preliminary
     Injunction

     Any request for a temporary restraining order or preliminary
injunctive relief must be made by a separate motion. A request for a
temporary restraining order or preliminary injunction found only in the
complaint will not be considered. After filing an appropriate motion, the
movant must contact Mr. Thurman to request expedited consideration.

q.   Motions for Summary Judgment

     1.    Record References

      All citations to the record evidence should be contained in each
party’s brief, not just in the party’s statement of undisputed (or disputed)
facts. When filing a brief in support of or in opposition to a motion for
summary judgment, the party shall simultaneously file an electronic
copy of the complete transcript of each deposition referenced in the brief,
and a notice of filing of the deposition transcript(s).

      The party should include in the brief, immediately following the
deposition reference, a citation indicating the page and line numbers of
the transcript where the referenced testimony can be found. The party
should also attach to the brief a copy of the specific pages of the deposition
that are referenced in the brief. The party should not attach to the brief
a copy of the entire deposition transcript. The entire deposition


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transcript shall be filed separately under a notice of filing original
deposition transcript.

     2.    Statement of Material Facts and Response

      In addition to following the form instructions set out in Local Rule
56.1B, a party responding to a statement of material facts shall copy into
its response document the numbered statement to which it is responding
and provide its response to that statement immediately following. A
party that chooses to reply to a response shall copy into its reply
document its original numbered statement of material fact and the
opposing party’s response, then provide its reply to that statement
immediately following.

r.   Requests for Oral Argument on Motions

      In accordance with Local Rule 7.1E, motions are usually decided
without oral argument, but the Court will consider any request for
hearing. If oral argument is requested, the party or parties should
specify the particular reasons argument may be helpful to the Court and
what issues will be the focus of the proposed argument. Moreover, the
Court is inclined to grant a request for oral argument on a contested
substantive motion if the request states that a lawyer of less than five
years out of law school will be chiefly responsible for conducting the oral
argument, it being the Court’s belief that new lawyers need more
opportunities for court appearances than they usually receive. More
senior attorneys may participate as necessary, but the junior attorney
must have a lead role.

s.   Proposed Orders

     For all consent, unopposed, or joint motions, the filing party shall
include a proposed order granting the motion.

t.   Pretrial Order

     If a motion for summary judgment is pending, the proposed
consolidated pretrial order is required to be filed within thirty (30) days


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after the entry of an order ruling on the motion for summary judgment,
unless a specific due date is set.

      Local Rule 16.4 sets forth the requirements of the pretrial order.
This includes a statement of any pending motions or other matters. The
parties should identify any motions in limine that they anticipate filing
as well as any motions objecting to expert testimony based upon Daubert
v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993). Upon receipt of the
pretrial order, the Court will issue a scheduling order setting dates for
hearings on any Daubert motions previously filed, briefing and hearings
on motions in limine, a pretrial conference, other pretrial matters, and
the date on which the trial will begin.

      Local Rule 16.4 also requires the parties to provide proposed voir
dire. Before doing so, the parties shall go to the district court’s website
at www.gand.uscourts.gov. On the home page, select the “Individual
Judge Instructions” link, and then select the “Cases before Judge Brown”
link. Here, the Court has provided its standard Qualifying Questions
and Background Jury Questions to be asked of prospective jurors at trial.
Please do not duplicate these questions in your proposed voir dire.

      As part of the pretrial order, the parties must submit a single,
unified set of proposed voir dire. The parties may divide the list according
to the questions that each party proposes to ask but any objections by the
opposing party must be included directly below the question at issue.

       The statement of contentions in the pretrial order governs the
issues to be tried. The plaintiff should make certain that all theories of
liability are explicitly stated, together with the type and amount of each
type of damage sought. The specific actionable conduct should be set out,
and, in a multi-defendant case, the actionable conduct of each defendant
should be identified. The defendant should explicitly set out any
affirmative defenses upon which it intends to rely at trial, as well as
satisfy the above requirements with respect to any counterclaims.

      The exhibits intended to be introduced at trial shall be specifically
identified. The parties shall mark their exhibits using Arabic numbers
(for example, Plaintiff’s Exhibit 1 or Plaintiff Jones-1 if more than one


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plaintiff). The parties shall adhere to the guidelines for color coding of
exhibit stickers set forth in Local Rule 16.4B(19)(b). The parties shall
number each exhibit separately. For example, exhibits should not be
grouped as “hospital records” or “photographs.”

      In listing witnesses or exhibits in the pretrial order, a party may
not reserve the right to supplement their list and may not adopt another
party’s list by reference. Witnesses and exhibits not identified in the
pretrial order may not be used during trial, unless it is necessary to allow
evidence to be introduced to prevent a manifest injustice.

      In preparing the pretrial order, each party shall identify to opposing
counsel each deposition, interrogatory, or request to admit response (or
portion thereof), which the party expects to or may introduce at trial,
except for impeachment purposes.          All exhibits, depositions, and
interrogatory and request to admit responses shall be admitted at trial
when offered unless the opposing party asserts a specific objection in the
pretrial order.

u.   Pretrial Conference

      The Court will conduct a pretrial conference to simplify the issues
to be tried and to rule on any outstanding evidentiary objections raised
in the pretrial order and motions in limine.

      The Court generally does not require the parties to bring with them
to the pretrial conference the exhibits to which there are objections. The
Court will consider the admissibility of exhibits at trial where the Court
will have context for ruling on objections to exhibits. To the extent there
is a group of exhibits, or a particular issue to which they pertain, where
a ruling on the group or issue may impact the admissibility of exhibits,
these groups and issues may be appropriate subjects for motions in
limine.

v.   Proposed Findings of Fact and Conclusions of Law

     When counsel is required to submit proposed findings of fact and
conclusions of law, the parties should confer and provide the Court a


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single, unified set of proposed findings of fact and conclusions of law. In
other words, the Court requires a consolidated set of proposed findings to
which all parties agree. Following the agreed upon proposed findings,
each party may list its own additional contested findings. Below each
contested finding, the parties shall indicate which party has proposed the
finding, the legal or factual basis for the proposed finding, and the other
party’s objection to the proposed finding. The parties should assist the
Court in working from one consolidated document rather than competing
documents.

w.   Courtroom Technology

      The courtroom has various electronic equipment for use by counsel
at trial. For more information on the equipment, or to schedule an
opportunity to test the equipment, please contact Mr. Thurman. It is the
parties’ responsibility to make sure they know how to use the equipment
available, to have the cables necessary to connect their equipment, and
to ensure that their equipment will interface with the Court’s technology.

      Any party or counsel without a blue attorney ID card issued
through the U.S. Marshals Service who would like to bring in the
courthouse electronic equipment, such as a laptop computer or cellphone
with a camera, must file a proposed order in the case allowing the same.
The proposed order should identify the electronic equipment, specify the
date(s) of the hearing or trial to which the party or counsel desires to
bring the equipment, and identify the courtroom to which the equipment
will be brought. This should be done not less than three (3) business days
prior to the hearing or trial, to allow for proper notification to the U.S.
Marshals Service.

x.   Jury Trial

      The Court usually is in session from 9:00 a.m. until 5:00 p.m. There
will be a short recess mid-morning and again mid-afternoon, as well as a
lunch break.

     When the jury is in the courtroom, it is the Court’s and the litigants’
responsibility to use the jury’s time efficiently. If matters need to be


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taken up outside the presence of the jury, they should be raised during
breaks or before the start of the trial day. It is each party’s responsibility
to have enough witnesses on hand for each day’s proceedings.

y.   Jury Charges

      Ordinarily, the Court will charge the jury before closing argument.
The Court will provide the jury with a written copy of the jury
instructions. Requests to charge and verdict forms shall be filed on
CM/ECF no later than noon on the Friday before the case is calendared
for trial, unless otherwise ordered by the Court. LR 51.1A, NDGa. The
parties must also email to Mr. Thurman, in Microsoft Word format, an
electronic copy of the proposed jury instructions.

      The parties must file a single, unified set of proposed jury
instructions that clearly identifies those jury instructions to which both
parties agree and those instructions to which the parties do not agree.
For those instructions that are not agreed upon, the parties should
indicate in consolidated fashion (using redline or different fonts) precisely
what language is contested and the grounds for any objection. In other
words, the Court requires a consolidated set of jury instructions to which
all parties agree. Following the agreed-upon jury instructions, the
parties should include those instructions to which opposing counsel
objects. Where an instruction is not agreed upon, the parties should
indicate who is proposing the instruction and the legal basis for the
instruction and for the other party’s opposition to the instruction.

      Counsel must use the Eleventh Circuit Pattern Jury Instructions
and O’Malley’s Federal Jury Practice and Instructions, if applicable. If
state law applies, counsel shall present the appropriate pattern
instruction from the applicable state.

     SO ORDERED this 26th day of November, 2018.




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